                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             CENTRAL DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                                 No. CR05-3005-LRR
 vs.                                               FINAL ORDER REGARDING
                                                    MOTION FOR SENTENCE
 JULIE GREIMANN,
                                                   REDUCTION PURSUANT TO
               Defendant.                             18 U.S.C. § 3582(c)(2)

                            ____________________________

       This matter is before the court pursuant to its March 18, 2008 order. In such order,
the court, among other things, discussed Amendment 706, as amended by Amendment
711, to USSG §2D1.1 and stated:
              Having reviewed the defendant’s file, the provisions and
              commentary of USSG §1B1.10, the factors set forth in 18
              U.S.C. § 3553(a), the nature and seriousness of the danger to
              any person or community that may be posed by a reduction in
              the defendant’s term of imprisonment and the defendant’s post-
              sentencing conduct, the court preliminarily deems it
              appropriate to exercise its discretion and grant the defendant
              the maximum reduction permitted under 18 U.S.C. §
              3582(c)(2) and USSG §1B1.10. The maximum reduction
              results in a new term . . . of 46 months imprisonment.
The court also notified the parties that they needed to file written objections to the
proposed reduction to the defendant’s sentence and that, if neither party objected, an order
would be filed that makes final the new term of imprisonment.
       Neither party filed objections to the court’s March 18, 2008 order. Consequently,
the court, under 18 U.S.C. § 3582(c)(2), grants a reduction in the defendant’s term of
imprisonment. The defendant’s previously imposed 51 month term of imprisonment, as




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reflected in the judgment dated October 12, 2005, is reduced to 46 months imprisonment.1
The defendant’s new term of imprisonment of 46 months applies to count 1 and count 6
of the superseding indictment. Except as provided above, all provisions of the judgment
dated October 12, 2005 remain in effect. As previously stated in the March 18, 2008
order and without a separate order from the court, the duration and conditions of the
defendant’s supervised release remain unchanged.
       The Clerk of Court is directed to send a copy of this order to the Bureau of Prisons,
that is, the place where the defendant is currently incarcerated. The Clerk of Court is also
directed to send a copy of this order to the defendant, USM No. 02998-029.
        IT IS SO ORDERED.
        DATED this 1st day of May, 2008.




        1
        For purposes of the March 18, 2008 order and the instant order, the court relied
on the following determinations:
 Previous Offense Level:      24                     Amended Offense Level:       23

 Criminal History Category:   I                      Criminal History Category:   I

 Previous Guideline Range:    51 to 63 months        Amended Guideline Range:     46 to 57 months
In its prior order, the court noted that, although it originally relied on USSG
§2D1.1(a)(3)(ii) to decrease by three levels the defendant’s base offense level, the
defendant is only eligible for a two level reduction under USSG §2D1.1(a)(3)(i). Given
a base offense level of 30, a total offense level of 23 is reached by subtracting two levels
under USSG §2D1.1(b)(6) (now USSG §2D1.1(b)(11)), subtracting two levels under USSG
§3B1.2(b) and subtracting three levels under USSG §3E1.1(b). The reduced sentence of
46 months imprisonment is within the amended guideline range.

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